                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA                              )
                                                      )
v.                                                    )
                                                      )       Crim. No. 19-10141-LTS
SHELLEY M. RICHMOND JOSEPH,                           )
                                                      )
                       Defendant.                     )


               UNITED STATES’ OPPOSITION TO MOTION FOR LEAVE
                  TO FILE AMICUS CURIAE BRIEF SUBMITTED BY
                   THE COMMONWEALTH OF MASSACHUSETTS

       The United States respectfully opposes the motion by the Commonwealth of

Massachusetts for leave to file an amicus brief in support of the Defendants’ motions to dismiss

Counts 1-3 of the Indictment for failure to state an offense under Fed. R. Crim. P. 12(b)(3)(B)(v).

See Doc. No. 70.

                                          ARGUMENT

       In deciding the Defendants’ motions to dismiss, the sole issue for the Court is whether the

allegations in the Indictment, which must be taken as true, are sufficient to apprise the

Defendants of the charged offenses. See United States v. Brissette, 919 F.3d 670, 675 (1st Cir.

2019); United States v. Stewart, 744 F.3d 17, 21 (1st Cir. 2014).

       Three capable law firms representing the Defendants have submitted two exhaustive

briefs raising numerous legal arguments in support of their clients’ motions, including judicial

immunity (raised by Judge Joseph only); that the Defendants did not act “corruptly” to impede a

“proceeding”; that their prosecution violates the Tenth Amendment; and that the obstruction

statutes are unconstitutionally vague as applied. See Doc. Nos. 60, 62. Defense counsel have not
claimed that they have been prevented from, or otherwise been unable to fully develop, any of

their clients’ legal arguments.

        The Commonwealth’s proposed brief merely echoes three arguments already fully

developed in the Defendants’ briefs: that the Defendants did not impede a “proceeding,” Doc.

No. 71 at 10-19; that they did not act “corruptly,” id. at 19-23; and that Judge Joseph has judicial

immunity, id. at 23-27. The Court should deny a motion for leave to file an amicus brief filed by

any third party whose proposed filing merely echoes legal arguments already fully briefed by the

parties in the case.

                                            CONCLUSION

        Because the Commonwealth’s brief offers nothing new to assist the Court, the Court

should deny its motion for leave to file.

                                                Respectfully submitted,

                                                ANDREW E. LELLING
                                                United States Attorney


                                            By: /s/ Christine Wichers
                                                DUSTIN CHAO
                                                CHRISTINE WICHERS
                                                Assistant U.S. Attorneys



                                       Certificate of Service

        I certify that this document filed through the ECF system will be sent electronically to the
registered participants as identified on the Notice of Electronic Filing (NEF) on September 14,
2019.

                                                /s/ Christine Wichers
                                                Christine Wichers



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